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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CAMPAIGN LEGAL CENTER
 1411 K Street NW, Ste. 1400
 Washington, DC 20005,

                              Plaintiff,
                                                      Civil Action No.
                         v.

 FEDERAL ELECTION COMMISSION
 999 E Street NW
 Washington, DC 20463,

                              Defendant.


               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        (1)      This is an action under the Federal Election Campaign Act (“FECA”), 52 U.S.C.

§ 30109(a)(8)(A), and the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(1). Plaintiff

seeks injunctive and declaratory relief to compel defendant Federal Election Commission

(“FEC”) to act on plaintiff’s administrative complaint regarding hundreds of thousands of dollars

of illegal political contributions. Specifically, plaintiff filed with the FEC in 2016 an

administrative complaint showing that GEO Corrections Holdings, Inc.—a wholly owned

subsidiary of a federal contractor that operates private prisons and detention facilities—had

violated FECA’s prohibition on contributions by government contractors by illegally

contributing $225,000 to a “super PAC.” FECA provides administrative complainants with a

right of action against the FEC if the FEC fails to act on a complaint within 120 days. More than

a year after plaintiff filed its administrative complaint, there is no indication that the FEC has

acted on it.




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                                     Jurisdiction and Venue

       (2)     This Court has both subject matter jurisdiction over this action and personal

jurisdiction over the parties pursuant to 52 U.S.C. § 30109(a)(8)(A) and 5 U.S.C. § 702. This

Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Venue lies in this

district under 52 U.S.C. § 30109(a)(8)(A) and 5 U.S.C. § 703.

                                            The Parties

       (3)      Plaintiff Campaign Legal Center (“CLC”) is a nonpartisan, nonprofit

organization that works to strengthen American democracy through, among other activities,

local, state, and federal efforts to ensure that the public has access to information regarding the

financing of our election campaigns and the influence campaign donations have on governmental

policy decisions. As part of this effort, CLC conducts research, authors reports and articles, and

regularly provides expert analysis to the media. CLC is also involved in litigation throughout the

country regarding campaign finance matters, participates in rulemaking and advisory opinion

proceedings before the FEC to ensure that the agency is properly interpreting and enforcing

federal election laws, files FEC complaints requesting that enforcement actions be taken against

individuals or organizations that violate the law, and files suits in federal court when the FEC

fails to comply with the provisions of FECA.

       (4)     Defendant Federal Election Commission is an independent federal agency

charged with the administration and civil enforcement of FECA. 52 U.S.C. § 30106.




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                                             Background

        (5)      In August 2016, the Department of Justice (“DOJ”) Office of Inspector General

(“OIG”) issued a report concluding that “contract prisons incurred more safety and security

incidents per capita than comparable BOP [Bureau of Prisons] institutions.”1

        (6)      The OIG report highlighted in particular the problems at private prisons operated

by GEO Group Inc. (“GEO Group”), one of the largest private prison federal contractors.

Specifically, the report noted that GEO Group’s “contract prisons had more incidents per capita

compared to those operated by [other contractors] for contraband finds, several types of reports

of incidents, lockdowns, guilty findings on inmate discipline charges, positive drug test results,

and sexual misconduct.”2

        (7)      On August 18, 2016, then-Deputy Attorney General Sally Yates issued a

memorandum instructing the Bureau of Prisons (“BOP”) to phase out the use of privately

operated correctional facilities, writing that private prisons “compare poorly to our own Bureau

facilities” and “do not provide the same level of correctional services, programs, and resources; .

. . do not save substantially on costs; and as noted in a recent report by [OIG], . . . do not

maintain the same level of safety and security.”3




1
       Office of Inspector Gen., U.S. Dep’t of Justice, Review of the Federal Bureau of Prisons’
Monitoring of Contract Prisons, at ii (Aug. 2016), https://oig.justice.gov/reports/
2016/e1606.pdf#page=2.
2
        Id. at 15.
3
        See Memorandum from Sally Yates, Deputy Attorney Gen. to Acting Dir. of Fed. Bureau of
Prisons (Aug. 18, 2016), https://www.justice.gov/archives/opa/file/886311/download.


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        (8)      The next day, August 19, GEO Group’s wholly owned subsidiary, GEO

Corrections Holdings, Inc., contributed $100,000 to Rebuilding America Now, a “super PAC”

supporting Donald Trump’s campaign for president.4

        (9)      According to news reports, Rebuilding America Now had the blessing of the

Trump campaign as one of its preferred super PACs, and President Trump’s then-campaign

manager, Paul Manafort, called into a July 2016 meeting of top donors to Rebuilding America

Now informing them that they were the only super PAC he was addressing.5

        (10)     According to news reports, at the same meeting of the super PAC’s donors,

attendees were shown a quote from then-Governor Mike Pence, who stated that “[s]upporting

Rebuild [sic] America Now is one of the best ways to stop Hillary Clinton and help elect Donald

Trump our next president!”6

        (11)     Federal law prohibits a federal contractor from “directly or indirectly . . .

mak[ing] any contribution of money or other things of value . . . to any person for any political

purpose or use.” 52 U.S.C. § 30119(a)(1). Federal law likewise prohibits any person from

“knowingly . . . solicit[ing] any such contribution for any such person for any such purpose.” Id.

§ 30119(a)(2).

        (12)     On February 21, 2017, two weeks after being confirmed, Attorney General Jeff

Sessions issued a memo rescinding Yates’s directive to phase out BOP’s use of private prisons.




4
        See Rebuilding America Now, Report of Receipts & Disbursements at 13, FEC Form 3X (filed
Dec. 8, 2016), http://docquery.fec.gov/cgi-bin/fecimg/?201612089039950752.
5
        Alex Isenstadt & Kenneth P. Vogel, Trump Blesses Major Super PAC Effort, Politico (July 20,
2016), http://www.politico.com/story/2016/07/trump-super-pac-donors-225892.
6
         Id. The Politico article mistakenly quotes Pence as referring to “Rebuild America Now”; the link
to the slide shown at the meeting shows the actual quote, which referred to Rebuilding America Now. See
http://static.politico.com/82/37/a220e5774f6e893fadcc4d48abfe/rebuilding-america-now-pac-slide.jpg.


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       (13)    Attorney General Sessions’s single-paragraph memo stated that Yates’s decision

“changed long-standing policy and practice, and impaired [BOP’s] ability to meet the future

needs of the federal correctional system,” and he thus “direct[ed] [BOP] to return to its previous

approach.”7

       (14)    Attorney General Sessions’s memo attracted significant attention among the press

and public,8 and, according to news reports, caused the stock prices of private prisons to rise

significantly.9 Many news reports pointed out that the private prison companies that benefitted

from the policy reversal, including GEO Group, had financially supported President Donald

Trump’s campaign.10

       (15)    In April 2017, according to news reports, GEO Group was awarded a $110

million contract to build the first immigrant detention center under the Trump Administration.11



7
        See Memorandum from Jefferson B. Sessions III, Attorney Gen. to Acting Dir. of Fed. Bureau of
Prisons (Feb. 21, 2017), https://www.bop.gov/resources/news/pdfs/20170224_doj_memo.pdf.
8
        E.g., Eric Lichtblau, Justice Department Keeps For-Profit Prisons, Scrapping an Obama Plan,
N.Y. TIMES (Feb. 23, 2017), https://www.nytimes.com/2017/02/23/us/politics/justice-department-private-
prisons.html; Jon Schuppe, Private Prisons: Here’s Why Sessions’ Memo Matters, NBC NEWS (Feb. 26,
2017), http://www.nbcnews.com/news/us-news/private-prisons-here-s-why-sessions-memo-matters-
n725316; Christopher Dean Hopkins, Private Prisons Back in Mix for Federal Inmates as Sessions
Rescinds Order, NPR (Feb. 23, 2017), http://www.npr.org/sections/thetwo-
way/2017/02/23/516916688/private-prisons-back-in-mix-for-federal-inmates-as-sessions-rescinds-order.
9
        Robert Martin, The GEO Group Inc. (GEO), Corecivic Inc (CXW) Up on Sessions Memo,
NASDAQ (Feb. 23, 2017), http://www.nasdaq.com/article/the-geo-group-inc-geo-corecivic-inc-cxw-up-
on-sessions-memo-cm752487.
10
        E.g., Fredreka Schouten, Private Prisons Back Trump and Could See Big Payoffs With New
Policies, USA Today (Feb. 23, 2017), http://www.usatoday.com/story/news/politics/2017/
02/23/private-prisons-back-trump-and-could-see-big-payoffs-new-policies/98300394/; Betsy Woodruff,
Trump Moves to Make Private Prisons Great Again, DAILY BEAST (Feb. 23, 2017),
http://www.thedailybeast.com/articles/2017/02/23/trump-moves-to-make-private-prisons-great-
again.html; David Dayen, Memo Restoring Use of Private Prisons Is Good News for One Company,
NATION (Feb. 24, 2017), https://www.thenation.com/article/memo-restoring-use-of-private-prisons-is-
good-news-for-one-company/.
11
        Meredith Hoffman, Immigrant Center to Be Built in Texas for $110M, U.S. NEWS (Apr. 13,
2017), https://www.usnews.com/news/best-states/texas/articles/2017-04-13/texas-getting-first-immigrant-
lockup-built-under-trump.


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       (16)    By letter to DOJ dated February 28, 2017 (addressed to the Office of the Attorney

General, BOP, OIG, the Office of Legal Counsel (“OLC”), and the Office of Public Affairs

(“OPA”)), pursuant to the Freedom of Information Act (“FOIA”), plaintiff requested “[a]ll

factual materials, reports, and other evidence that the DOJ considered in reaching its conclusion

to rescind the August 18, 2016 memo on private prisons.”12

       (17)    After DOJ failed to produce documents by FOIA’s statutory deadline, plaintiff

filed suit, see Campaign Legal Center v. DOJ, No. 17-1170 (D.D.C. filed June 15, 2017). DOJ

eventually indicated that OLC, BOP, and OIG possessed no responsive documents.

                                  Administrative Proceedings

       (18)    On November 1, 2016, CLC and an individual, Catherine Hinckley Kelley, filed a

complaint with the FEC against Rebuilding America Now and GEO Corrections Holdings, Inc.,

seeking enforcement for apparent violation of the ban on federal contractor donations.13 The

same day, GEO Corrections Holdings, Inc. contributed an additional $125,000 to Rebuilding

America Now.14

       (19)    On November 4, 2016, the FEC sent CLC and Kelley a letter acknowledging

receipt of the administrative complaint, and designating it Matter Under Review (“MUR”) 7180.




12
        See Letter from CLC to DOJ (Feb. 28, 2017),
http://www.campaignlegalcenter.org/sites/default/files/02-28-17%20FOIA%20request%20-
%20Private%20Prisons.pdf.
13
        See Complaint, MUR 7180 (Rebuilding America Now & GEO Corrections Holdings, Inc.) (Nov.
1, 2016), http://www.campaignlegalcenter.org/sites/default/files/11-01-
16%20Rebuilding%20America%20Now%20Contractor%20Complaint.pdf.
14
        Rebuilding America Now, Report of Receipts & Disbursements at 33, FEC Form 3X (filed Oct.
15, 2016), http://docquery.fec.gov/cgi-bin/fecimg/?201610159032869693.


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       (20)    On December 20, 2016, CLC and Kelley supplemented their complaint by

providing additional evidence of illegal contributions and further information as to the nature of

GEO Corrections Holdings, Inc.’s status as a federal contractor.15

       (21)    Upon information and belief, the FEC has failed to act on plaintiff’s

administrative complaint to date.

       (22)    Meanwhile, GEO Corrections Holdings, Inc. has continued to make illegal

contributions. On March 8, 2017, it contributed $100,000 to Congressional Leadership Fund,16

and on April 26, 2017, it contributed $100,000 to Senate Leadership Fund,17 both of which are

super PACs. Since 2015, GEO Corrections Holdings, Inc. has contributed $845,000 to political

committees.

                                      CAUSES OF ACTION

                           Count I: FECA, 52 U.S.C. § 30109(a)(8)(A)

       (23)    Plaintiff repeats and realleges paragraphs 1-22.

       (24)    Defendant’s failure to act on plaintiff’s administrative complaint within 120 days

of its filing was contrary to law under 52 U.S.C. § 30109(a)(8)(A), which provides plaintiff a

cause of action for “a failure of the Commission to act on such complaint during the 120-day

period beginning on the date the complaint is filed.”

                                Count II: APA, 5 U.S.C. § 706(1)

       (25)    Plaintiff repeats and realleges paragraphs 1-22.


15
        See Letter from CLC et al. to Fed. Election Comm’n (Dec. 20, 2016),
http://www.campaignlegalcenter.org/document/letter-trump-super-pac-received-illegal-donations-private-
prison-company.
16
         Congressional Leadership Fund, 2017 Pre-Special Election Report at 12, FEC Form 3X (filed
April 6, 2017), http://docquery.fec.gov/cgi-bin/fecimg/?201704069052044467.
17
         Senate Leadership Fund, 2017 July Mid-Year Report at 9, FEC Form 3X (filed August 1, 2017),
http://docquery.fec.gov/cgi-bin/fecimg/?201708019069928857.


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       (26)    By failing to act on plaintiff’s administrative complaint within 120 days of its

filing, the FEC unlawfully withheld and unreasonably delayed agency action under 5 U.S.C.

§ 706(1).

                                    REQUESTED RELIEF

       WHEREFORE, plaintiff requests that this Court:

       (1)     Declare that the FEC’s failure to act on plaintiff’s administrative complaint was

contrary to law under 52 U.S.C. § 30109(a)(8)(A);

       (2)     Declare that the FEC has unlawfully withheld and unreasonably delayed agency

action on plaintiff’s administrative complaint under 5 U.S.C. § 706(1);

       (3)     Order the FEC to conform with this declaration within 30 days pursuant to 52

U.S.C. § 30109(a)(8)(C);

       (4)     Award plaintiff its costs and reasonable attorneys’ fees incurred in this action; and

       (5)     Grant such other relief the Court may deem just and proper.



 Dated: January 10, 2018                             Respectfully submitted,


                                                     /s/ Adav Noti
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